                               UNITED STATES DISTRICT COURT

                        FOR THE MIDDLE DISTRICT OF TENNESSEE

                                     NASHVILLE DIVISION


UNITED STATES OF AMERICA                      )
                                              )        No. 3:09-00047-001
                   v.                         )
                                              )        CHIEF JUDGE CRENSHAW
ADRIAN PATTERSON                              )


               UNITED STATES’ MOTION TO CONTINUE SENTENCING


       The United States moves to continue the sentencing in this case, which is currently set for

1 p.m. on October 11, 2019. As the Court is aware from hearings yesterday in United States v.

Dionte Breedlove, the undersigned will be in trial in that case in this Court throughout that week.

Furthermore, the presentence investigation report has not been completed, and the parties will need

to review and respond to that report, as well as file other sentencing documents. Wherefore, the

United States requests the sentencing in this case be continued for a sufficient period to accomplish

these tasks.



                                                       Respectfully submitted,

                                                       DONALD Q. COCHRAN
                                                       UNITED STATES ATTORNEY
                                                       By: s/ Sunny A.M. Koshy
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                                                   1




 Case 3:09-cr-00047        Document 520           Filed 09/25/19   Page 1 of 2 PageID #: 6046
                               CERTIFICATE OF SERVICE

        The undersigned certifies that a copy of the foregoing has been served by the Court's ECF
notification system this 25th day of September, 2019, on Thomas J. Drake, Counsel for Defendant
Patterson, and on USPO Liberty Lander through the Court’s Electronic Filing System.
                                                      s/ Sunny A.M. Koshy
                                                      SUNNY A.M. KOSHY




                                               2




 Case 3:09-cr-00047       Document 520        Filed 09/25/19     Page 2 of 2 PageID #: 6047
